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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


CAPITAL AREA IMMIGRANTS’ RIGHTS
COALITION, et al.,

                           Plaintiffs,

      v.
                                                        Civil Action No. 1:19-cv-02117-TJK
DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,

                           Defendants.



                                         STATUS REPORT

       Pursuant to this Court’s order of July 25, 2019, that the parties meet, confer, and file a

joint status report proposing how they would like to proceed in this matter, the parties hereby

propose as follows:

       The parties consent to hold in abeyance Plaintiffs’ Motion for Preliminary Injunction

while the preliminary injunction entered by the District Court for the Northern District of

California in East Bay Sanctuary Covenant v. Barr, No. 19-cv-04073-JST (N.D. Cal. July 24,

2019), remains in full effect. Plaintiffs reserve the right to renew their Motion for Preliminary

Injunction if the preliminary injunction entered by the district court in East Bay is stayed or

vacated, in whole or in part.

       Plaintiffs will amend their Complaint on or before August 6, 2019. See Fed. R. Civ. P.

15(a)(1) (“A party may amend its pleading once as a matter of course within . . . 21 days after

serving it”). Plaintiffs intend to amend their Complaint to name as parties several asylum

seekers subject to the challenged Rule. Plaintiffs may also make other amendments in light of
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the preliminary views expressed by this Court in its oral ruling and the order entered by the court

in East Bay.

        The parties further propose the following schedule to brief cross-motions for summary

judgment:

        Plaintiffs’ Motion for Summary Judgment (limited to 45 pages)               August 27

        Government’s Cross-Motion for Summary Judgment
        and Opposition to Plaintiffs’ Motion (limited to 45 pages)                  September 17

        Plaintiffs’ Reply in Support of Motion for Summary Judgment
        and Opposition to Government’s Cross-Motion (limited to 25 pages)           September 24

        Government’s Reply in Support of Cross-Motion (limited 25 pages)            October 1

        The parties further propose that the Court hold a hearing on the parties’ cross-motions for

summary judgment one week after the conclusion of summary judgment briefing, or at its

earliest convenience.

        The government separately represents that it intends to seek a stay pending appeal of the

preliminary injunction entered in East Bay Sanctuary Covenant v. Barr, No. 1:19-cv-04073-JST

(N.D. Cal.), including emergency appellate relief if the East Bay district court does not grant its

request for a stay.

        The government also separately represents that given the parties’ agreement to hold in

abeyance Plaintiffs’ Motion for Preliminary Injunction, the court need not decide the pending

motion to participate as amicus curiae. However, given the court’s order, Defendants, unless

ordered otherwise, will file a brief response consistent with the court’s order to do so by July 29,

2019.




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July 29, 2019                                      Respectfully submitted,


                                                   JOSEPH H. HUNT
                                                   Assistant Attorney General

                                                   SCOTT G. STEWART
                                                   Deputy Assistant Attorney General

                                                   WILLIAM C. PEACHEY
                                                   Director

                                                By: /s/ Erez Reuveni
                                                   EREZ REUVENI
                                                   Assistant Director
                                                   Office of Immigration Litigation
                                                   U.S. Department of Justice, Civil Division
                                                   P.O. Box 868, Ben Franklin Station
                                                   Washington, DC 20044
                                                   Tel: (202) 307-4293
                                                   Email: Erez.R.Reuveni@usdoj.gov

                                                   PATRICK GLEN
                                                   Senior Litigation Counsel


                                                   HOGAN LOVELLS US LLP

                                                   /s/ Justin W. Bernick
                                                   Justin W. Bernick

Manoj Govindaiah                                   Neal K. Katyal (Bar No. 462071)
RAICES, Inc.                                       T. Clark Weymouth (Bar No. 391833)
802 Kentucky Ave.                                  Craig A. Hoover (Bar No. 386918)
San Antonio, TX 78212                              Justin W. Bernick (Bar No. 988245)
Telephone: (210) 222-09642                         Mitchell P. Reich (Bar No. 1044671)
Facsimile: (210) 212-4856                          Elizabeth Hagerty (Bar No. 1022774)
manoj.govindaiah@raicestexas.org                   Kaitlin Welborn (Bar No. 88187724)
                                                   Heather A. Briggs** (Bar. No. 241719)
Counsel for Plaintiff Refugee and Immigrant        Michael J. West** (Bar No. 1616572)
Center for Education and Legal Services, Inc.      555 Thirteenth Street NW
                                                   Washington, DC 20004
                                                   Telephone: (202) 637-5600
                                                   Facsimile: (202) 637-5910
Adina Appelbaum* (Bar No. 1026331)                 neal.katyal@hoganlovells.com
CAPITAL AREA IMMIGRANTS’                           t.weymouth@hoganlovells.com
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RIGHTS COALITION                          craig.hoover@hoganlovells.com
1612 K Street NW, Suite 204               justin.bernick@hoganlovells.com
Washington, DC 20006                      mitchell.reich@hoganlovells.com
Telephone: (202) 899-1412                 elizabeth.hagerty@hoganlovells.com
Facsimile: (202) 331-3341                 kaitlin.welborn@hoganlovells.com
adina@caircoalition.org                   heather.briggs@hoganlovells.com
                                          michael.west@hoganlovells.com

* Motion for admission forthcoming        Thomas P. Schmidt*
                                          Mohan Warusha Hennadige*
Counsel for Plaintiff Capital Area        390 Madison Avenue
Immigrants’ Rights Coalition              New York, NY 10017
                                          Telephone: (212) 918-3000
                                          Facsimile: (212) 918-3100
                                          thomas.schmidt@hoganlovells.com
                                          mohan.warusha-
                                          hennadige@hoganlovells.com

                                          * Motion for admission and pro hac vice
                                          application pending admission forthcoming

                                          ** Motion for admission pending

                                          Counsel for Plaintiffs
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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


CAPITAL AREA IMMIGRANTS’ RIGHTS
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                         Plaintiffs,

      v.
                                                         Civil Action No. 1:19-cv-02117-TJK
DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,

                         Defendants.



                               CERTIFICATE OF SERVICE

       I hereby certify that on July 29, 2019, I electronically filed the foregoing with the Clerk

of the Court for the United States District Court for the District of Columbia by using the

CM/ECF system.      Counsel in the case are registered CM/ECF users and service will be

accomplished by the CM/ECF system.


July 29, 2019                                       Respectfully submitted,

                                                    HOGAN LOVELLS US LLP

                                                    /s/ Justin W. Bernick
                                                    Justin W. Bernick
                                                    555 Thirteenth Street NW
                                                    Washington, DC 20004
                                                    Telephone: (202) 637-5600
                                                    Facsimile: (202) 637-5910
                                                    justin.bernick@hoganlovells.com
